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    MARYELLIS BUNN, and
  8 1AND8 INC., dba MUSEUM OF ICE
    CREAM
  9
 10                              UNITED STATES DISTRICT COURT
 11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                         Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                                    DECLARATION OF GAZAL
                 Plaintiff,                            POUR-MOEZZI IN SUPPORT OF
 15                                                    MOTION TO DISMISS
          v.                                           COMPLAINT
 16
    MARYELLIS BUNN, an individual;                     Date: Nov. 8, 2018
 17 and1AND8 INC., a Delaware                          Time: 8:30 a.m.
    corporation dba MUSEUM OF ICE                      Crtrm.: 9D
 18 CREAM,
                                                       The Hon. George H. Wu
 19                      Defendants.
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                                                     -1-             Case No. 2:18-cv-06091-GW (SKx)
      SMRH:488034056.1                 POUR-MOEZZI DECLARATION ISO MOTION TO DISMISS COMPLAINT
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  1                          DECLARATION OF GAZAL POUR-MOEZZI
  2           I, Gazal Pour-Moezzi, declare as follows:
  3           1.         I am an attorney duly admitted to practice before this Court. I am an
  4 associate with Sheppard Mullin Richter & Hampton LLP, attorneys of record for
  5 Defendants 1AND8 Inc. dba Museum of Ice Cream (“MOIC”) and Maryellis Bunn
  6 (collectively, “Defendants”). If called as a witness, I could and would competently
  7 testify to all facts within my personal knowledge except where stated upon
  8 information and belief.
  9           2.         On September 14, 2018, and pursuant to Civil Local Rule 7-3, I met
 10 and conferred by telephone with Connor Lynch of Lynch LLP, counsel of record for
 11 plaintiff Pretty in Plastic, Inc. (“Plaintiff”) regarding the substance of Defendants’
 12 Motion to Dismiss. During this conversation, Mr. Lynch and I discussed each of
 13 Plaintiff’s claims, as well as the grounds for Defendants’ Motion to Dismiss.
 14 Notwithstanding this conversation, Plaintiff declined to withdraw or amend its
 15 claims.
 16           3.         Attached as Exhibit A is a true and correct copy of the December 8,
 17 2017 article from Coveteur titled “How The Museum Of Ice Cream Became One Of
 18 The Most Instagrammed Spaces In The Country,” which was printed online from
 19 Coveteur’s website at http://coveteur.com/2017/12/08/maryellis-bunn-museum-ice-
 20 cream-founder/. This article is referenced at paragraph 32 of the Complaint.
 21           4.         Attached as Exhibit B is a true and correct copy of the Non-Disclosure
 22 Agreement (“NDA”) entered into between MOIC and Plaintiff in November 2016.
 23 The NDA is referenced in paragraphs 14-16, and 46 of the Complaint.
 24           5.         Attached as Exhibit C is a true and correct copy of a picture of the
 25 Rainbow Room exhibit in MOIC’s San Francisco location. In addition, a picture of
 26 the Rainbow Room can be seen on page 8 of Exhibit A. This room is referenced
 27 throughout the Complaint, including in paragraphs 19, 24, and 26-27.
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      SMRH:488034056.1                 POUR-MOEZZI DECLARATION ISO MOTION TO DISMISS COMPLAINT
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